                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION



 ERNEST KEVIN TRIVETTE, et al.,

 Plaintiffs,
 v.
                                                     Civil No. 3:20-cv-00276
 TENNESSEE DEPARTMENT OF                             Judge Trauger
 CORRECTION,

 Defendant.



               PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT


        Plaintiffs Disability Rights Tennessee (“DRT”), Ernest Trivette, Jason Collins, Alex

Stinnett, Thomas White, and Lakeevious Owens, by and through counsel, respectfully submit

this Memorandum in Support of their Motion for Partial Summary Judgment on the grounds that

Defendant Tennessee Department of Correction (“TDOC”) violates Title II of the Americans

with Disabilities Act and Section 504 of the Rehabilitation Act by:

        •      failing to adequately assess deaf prisoners for communications abilities and

               accommodation needs;

        •      failing to provide deaf prisoners sufficient and reliable access to sign language

               interpreters for substantive communications; and

        •      failing to provide deaf prisoners sufficient and reliable access to videophones.

Plaintiffs respectfully request that this Court enter judgment in their favor on these issues,

reserving for later proceedings questions relating to remedies.




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         Plaintiffs’ Motion is based on the undisputed facts set forth in the Plaintiffs’1 56.01(b)

Statement of Undisputed Facts in Support of Their Motion for Partial Summary Judgment

(“PSF”) and the legal arguments set forth in their Memorandum in Support of Plaintiffs’ Motion

for Partial Summary Judgment.

         “Plaintiffs’ desire for equally effective means of communication is not just an aspiration

– it is the law.” McBride v. Michigan Dep’t of Corr., 294 F. Supp. 3d 695, 706 (E.D. Mich.

2018). While Plaintiffs cite a number of cases below, they respectfully call the Court’s attention

to two cases where summary judgment was granted to deaf incarcerated plaintiffs under Title II.

Those two cases, taken together, thoroughly address the issues covered in this Motion: In Pierce

v. District of Columbia, 128 F. Supp. 3d 250 (D.D.C. 2015), then-Judge Ketanji Brown Jackson

granted summary judgment based on the prison’s failure to evaluate the deaf plaintiff’s abilities

and accommodation needs; in McBride, the court granted summary judgment as to the need for

videophones and for interpreters for high-stakes interactions.

         For these reasons, Plaintiffs respectfully request that this Court grant summary judgment

in their favor on the issues listed on the first page of this Motion.




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 This Motion, the supporting Memorandum, and Plaintiffs’ Rule 56.01 Statement will use the
word “Plaintiffs” to refer to the plaintiffs filing this motion: Plaintiffs Trivette, Collins, Stinnett,
White, and Owens, and DRT.


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Respectfully submitted,
 FOX AND ROBERTSON, PC                        DISABILITY RIGHTS ADVOCATES

 /s/ Amy F. Robertson                         Stuart John Seaborn*
 Amy F. Robertson*                            2001 Center Street, 4th Floor
 1 Broadway, Suite B205                       Berkeley, CA 94704
 Denver, CO 80203                             (510) 665-8644
 (303) 951-4164                               sseaborn@dralegal.org
 arob@foxrob.com
                                              Torie Atkinson*
 DISABILITY RIGHTS TENNESSEE                  Madeleine J. Reichman*
                                              655 Third Avenue, 14th Floor
 Jack W. Derryberry, Jr. (TN Bar# 003870)     New York, NY 10017
 Stacie L. Price (TN Bar# 030625)             (212) 644-8644
 2 International Plaza, Suite 825             tatkinson@dralegal.org
 Nashville, TN 37217                          mreichman@dralegal.org
 (615) 298-1080
 jackd@disabilityrightstn.org
 staciep@disabilityrightstn.org

 CIVIL RIGHTS EDUCATION AND
 ENFORCEMENT CENTER

 Albert Elia*
 1245 E. Colfax Ave., Suite 400
 Denver, CO 80218
 (303) 757-7901
 aelia@creeclaw.org


*Admitted Pro Hac Vice

Attorneys for Plaintiffs.

November 15, 2023




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                                CERTIFICATE OF SERVICE

       I certify that, on November 15, 2023, I served the foregoing document upon all parties

herein by e-filing with the CM/ECF system maintained by the court which will provide notice to the

following:

       Steven Hart
       Special Counsel
       Office of Tennessee Attorney General
       steve.hart@ag.tn.gov

       Jeffrey B. Cadle
       Assistant Attorney General
       Office of Tennessee Attorney General
       jeffrey.cadle@ag.tn.gov

/s/ Jordon Henderson
Jordon Henderson
Paralegal
Fox & Robertson, PC




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